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                            IN THE UNITED STATES DISTRICT COURT
                               FOR THE DISTRICT OF MARYLAND


 UNITED STATES OF AMERICA
                                                       CRIMINAL NO. DLB-21-0399
                   v.

 ROY C. MCGRATH,

                        Defendant.
                                                 ORDER
       The Court finds, upon consideration of the parties' Status Report and the Consent Motion for

Further Exclusion of Time Under the Speedy Trial Act, ECF 19, the interests of justice will be served

by continuing the trial date beyond the speedy trial date and outweigh the interests of the public and

the Defendant in a speedy trial, in that:

       a.     the failure to grant this request in this proceeding would be likely to result in a
       miscarriage of justice;

       b.     the requested exclusion of time would provide the Defendant and his counsel the time
       necessary to review the discovery materials;

       c.     the requested exclusion of time would allow the parties sufficient time to conduct
       discussions regarding the evidence; and

       d.      the failure to set trial beyond the speedy trial date in this proceeding would deny counsel
       for the Defendants and attorneys for the Government the reasonable time necessary for effective
       preparation, taking into account the exercise of due diligence.

       THEREFORE, IT IS HEREBY ORDERED that the period from January 22, 2022-February 21,

2022, inclusive, shall be excluded from calculation under the Speedy Trial Act in the interests of justice,

pursuant to Title 18, United States Code, Section 3161(h)(1) and (7), for the reasons set forth above.

The parties are directed to provide a Status Report to the Court on or before February 21, 2022.


Date: ________________
       Janaury 24, 2022                       __________________________________
                                              Deborah L. Boardman
                                              United States District Judge
